Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 1 of 8 PageID 1
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 2 of 8 PageID 2
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 3 of 8 PageID 3
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 4 of 8 PageID 4
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 5 of 8 PageID 5
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 6 of 8 PageID 6
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 7 of 8 PageID 7
Case 2:15-cr-00149-SPC-MRM Document 1 Filed 10/20/15 Page 8 of 8 PageID 8
